1           Edward J. Maney
            Chapter 13 Trustee
2           101 N. First Ave., Suite 1775
            Phoenix, Arizona 85003
3           Telephone (602) 277-3776
            ejm@maney13trustee.com
4
                                    IN THE UNITED STATES BANKRUPTCY COURT
5                                           FOR THE DISTRICT OF ARIZONA

6           In re:                                           )      CHAPTER 13 PROCEEDINGS
                                                             )
7                                                            )      CASE NO. # 2: 19-08276-MCW
                            RICHARD E. REES,                 )
8                           ANITA REES,                      )      TRUSTEE'S EVALUATION AND
                                                             )      RECOMMENDATION(S) REPORT WITH
9                                                            )      NOTICE OF POTENTIAL DISMISSAL IF
                                                             )      CONDITIONS ARE NOT SATISFIED
10                                                           )      RE: CHAPTER 13 PLAN
                                            (Debtor(s)       )      docket #13 filed July 16, 2019
11

12                   Edward J. Maney, Trustee, has analyzed the Debtors’ Chapter 13 Plan and supporting

13          documents and submits the following evaluation and recommendation(s):
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       General requirements:
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            a.       Due to the possibility of errors on the claims docket, it is the attorney’s responsibility to review
17                   all proofs of claim filed with the Court and resolve any discrepancies between the claims and
                     the Plan prior to submitting any proposed Order Confirming Plan to the Trustee. Please
18                   submit a copy of the Court’s Claims Register with any submission of the Order Confirming.

19      b.           Requests by the Trustee for documents and information are not superseded by the filing of an
                     amended plan or motion for moratorium.
20
        c.           The Trustee will object to any reduction in the Plan duration or payout in a proposed Order
21                   Confirming Plan unless an amended or modified plan is filed and noticed out.

22      d.           The Debtors are required to provide directly to the Trustee, within 30 days after their filing,
                     copies of their federal and state income tax returns for every year during the duration of the
23                   Chapter 13 Plan. This requirement is to be included in any Order Confirming.
24      e.           The Trustee requires that any proposed Order Confirming Plan state: “The Plan and this
                     Order shall not constitute an informal proof of claim for any creditor.”
25
       f.            The Trustee requires that any proposed Order Confirming Plan state: “Debtor is instructed to
26                   remit all payments on or before the stated due date each month. Debtor is advised that when
                     payments are remitted late, additional interest may accrue on secured debts, which may result in
27
                     a funding shortfall at the end of the Plan term. Any funding shortfall must be cured before the
28                   Case can be discharged. This requirement is effective regardless of Plan payments
                     suspensions, waivers or moratoriums, and must be included in any Plan Confirmation Orders.”

     Case 2:19-bk-08276-MCW                 Doc 24       Filed 09/24/19    Entered 09/24/19 15:21:46         Desc
                                                           Page 1 of 4
1                                                                           Trustee’s Recommendation
                                                                            Case No.# 2: 19-08276-MCW
2                                                                           Page #2

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        g.   At the time of confirmation, the Trustee will require the Debtors to certify that they are current
5            on all required tax filings and any domestic support orders.
6       h.   At the time of confirmation, the debtor(s) are required to certify, via language in the Order
             Confirming, that they are current on all payments that have come due on any Domestic Support
7            Orders since the filing of their case and that they are current on all required tax return
             filings [pursuant to 11 U.S.C. §1308].
8
        i.   DEBTORS / DEBTORS’ COUNSEL REMINDER - A letter is to be submitted to the Trustee,
9
             accompanying any Order Confirming, addressing all issues as they are listed in the Trustee’s
10           Recommendation. In addition, all documents (ex: tax returns, paystubs etc.) submitted to the
             Trustee must be redacted – in compliance with Fed.R.Bankr.P.9037 -- by debtors and/or their
11           counsel.

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       Specific Recommendations:
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       1.    The Trustee requires the debtors supply a copy of bank statement that reveals the balance
18           on hand -- in all their bank accounts -- on the date of the filing of their case.

19     2.    LakeView Loan Servicing (mortgage arrears) has filed an objection to the Plan which must be
             resolved before the Plan can be confirmed.
20
       3.    The proof of claim filed by Moondance Townhomes HOA (claim #2) differs by amount and/or
21           classification from this creditor's treatment under the Plan. To resolve this discrepancy, the
             Trustee requires either; a) Debtor object to the Proof of Claim; b) the creditor sign-off on an Order
22           Confirming; c) the Order Confirming be altered to pay the creditor pursuant to the Proof of Claim
             including payment of the contract rate of interest; or d) Debtor file an Amended Plan to provide
23           for the creditor's claim as shown by the Proof of Claim.

24     4.    The Chapter 13 Plan states that CarMax Auto Finance (2015 Ford Focus) will be paid an amount
             greater than that listed on the proof of claim [#3]. The debtor(s) may use the lesser claim amount
25           in the Stipulated Order Confirming Plan.
26     5.    Plan fails to provide a specific day of the month by which the first and subsequent payments are
             to be paid into the Plan. The Trustee has established a constructive payment due date of the 2nd
27           day of the month with the first interim payment to be paid on or before August 2, 2019.
28


     Case 2:19-bk-08276-MCW         Doc 24      Filed 09/24/19     Entered 09/24/19 15:21:46          Desc
                                                  Page 2 of 4
1                                                                      Trustee’s Recommendation
                                                                       Case No.# 2: 19-08276-MCW
2                                                                      Page #3

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6                   In summary, the Plan can be confirmed subject to the condition(s) noted above,
            adequate funding, and timely filed Stipulated Order Confirming, and Court approval. The
7           Trustee requires that any Stipulated Order Confirming contain the “wet” signatures from
            the debtors (where applicable), debtors counsel and objecting creditors if there are any.
8            General unsecured creditors (including secured creditors with unsecured deficiency balances)
            will be paid through the Trustee, approximately $7,764 or an estimated 8% of general
9           unsecured claims, subject to timely filed and allowed claims. Chapter 7 reconciliation
            requirement must be met given debtors’ scheduled $150 equity in non-exempt property at
10          petition date. You are hereby advised that the Trustee may lodge an Order of Dismissal
            should Debtor fail to resolve item(s) #1, #6 above and submit a Stipulated Order
11          Confirming to the Trustee for review and signature or request a hearing within 30 days
            from the date of the mailing of this Trustee's Recommendation.
12

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15
            Date See Electronic Signature Block
16

17
                                                                EDWARD J. MANEY,
18                                                              CHAPTER 13 TRUSTEE

19

20

21

22
                                                              Edward Digitally   signed
                                                                        by Edward J.
23                                                            J. Maney, Maney, Esq.
                                                                        Date: 2019.09.24
24

25                                                      By:
                                                              Esq.      13:20:21 -07'00'
                                                               _______________________________
                                                                Edward J. Maney ABN 12256
26                                                              CHAPTER 13 TRUSTEE
                                                                101 North First Ave., Suite 1775
27                                                              Phoenix, Arizona 85003
                                                                (602) 277-3776
28                                                              ejm@maney13trustee.com


     Case 2:19-bk-08276-MCW       Doc 24    Filed 09/24/19     Entered 09/24/19 15:21:46       Desc
                                              Page 3 of 4
1                                                                           Trustee’s Recommendation
                                                                            Case No.# 2: 19-08276-MCW
2                                                                           Page #4

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            Copies of the forgoing
5           mailed on [see electronic signature],
            to the following:
6

7

8
            Richard Rees
9           Anita Rees
            25370 W. Carson Drive
10          Buckeye, Arizona 85326
            Debtors
11

12

13          Thomas A. McAvity, Esq.
            4742 North 24th Street
14          Suite #300
            Phoenix, Arizona 85016
15          Debtors’ counsel

16

17

18

                   Grace
19                                     Digitally signed
                                       by Grace Harley
20                                     Date:

21
            By:
                   Harley              2019.09.24
                                       15:19:40 -07'00'
22                   Trustee’s Clerk

23

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     Case 2:19-bk-08276-MCW           Doc 24        Filed 09/24/19   Entered 09/24/19 15:21:46   Desc
                                                      Page 4 of 4
